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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MARYLAND

Chambers of                                                                     101 West Lombard Street
Matthew J. Maddox                                                                           Chambers 3B
United States District Judge                                                   Baltimore, Maryland 21201
MDD MJMChambers@mdd.uscourts.gov                                                          (410) 962-3407




STANDING ORDER CONCERNING DISCOVERY


Dear Counsel:

        To facilitate the just, speedy, and inexpensive resolution of this case, I have implemented
the following informal discovery dispute procedure as a substitute for Local Rule 104.8. You
may not file any discovery motions until this process has been followed and I advise you
that formal briefing is necessary.

        At the outset, counsel are reminded of their obligation to cooperate in conducting
discovery, as well as to limit the cost of discovery so that it is proportional to what is at issue in
the case. In the event of a disagreement involving discovery, before requesting court
intervention, counsel must confer with each other and attempt to resolve or narrow the dispute. If
issues remain, counsel may:

       1.       File a joint brief letter (not to exceed one page) advising me that you would like
            me to resolve a discovery dispute and confirming that you have attempted to resolve
            it on your own and that you have held a Local Rule 104.7 conference. Please note that
            this requirement contemplates a discussion between counsel, not simply an email
            exchange.
       2.       Within twenty-four (24) hours of sending the letter described above, counsel
            involved in the discovery dispute shall file short letters (not to exceed three (3) single-
            spaced pages) setting forth their respective positions. You may not file attachments to
            your letters without my permission. Unless otherwise instructed, you may not file a
            reply. This procedure contemplates that you will file your letters contemporaneously
            and that you are already familiar with the other party’s position by virtue of your
            conference.
       3.      Upon review of these letters, I will determine whether a telephone conference is
            necessary to resolve the dispute. If so, my chambers will contact you to schedule a
            conference call. It shall be the responsibility of Plaintiff’s counsel to arrange the
            conference call.
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       4.       I will not make a tape recording of the hearing. If any of you want a court reporter
            to record the hearing, it will be your responsibility to have a court reporter present in
            your office. Of course, you must advise me and opposing counsel at the
            commencement of the hearing that a record is being made.
       I intend to resolve as many disputes as I can in this informal manner. If, however, I
determine that the issues require compliance with formal motions practice, I will so advise
counsel.

       Notwithstanding the informal nature of this letter, it will constitute an Order of the Court
and will be docketed accordingly.


                                                      Sincerely,
                                                              /s/

                                                      Matthew J. Maddox
                                                      United States District Judge




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